                 Case 2:18-cr-00010-TLN Document 120 Filed 10/04/19 Page 1 of 4


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5
     EDGAR JIMENEZ
6

7

8                                  UNITED STATES DISTRICT COURT

9                                 EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                           Case No.: 2:18-cr-010 TLN
12
                     Plaintiff,
13
     vs.                                                 STIPULATION AND ORDER REGARDING
14                                                       CORRECTION OF SENTENCE [Federal Rule
     EDGAR JIMENEZ,                                      of Criminal Procedure 35(a)]
15

16                   Defendant.

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21
            Plaintiff United States of America by and through Assistant United States Attorney Justin
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23   Lee, and Attorney Todd Leras on behalf of Defendant Edgar Jimenez, stipulate as follows:

24          1.    On October 1, 2019, the Court granted the parties’ request for an order requiring
25                disclosure of the court reporter’s notes as to the length of sentence imposed at the
26
                  sentencing hearing held on September 19, 2019 [ECF Entry Number 117]. That
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     ORDER CONTINUING STATUS
28   CONFERENCE
            Case 2:18-cr-00010-TLN Document 120 Filed 10/04/19 Page 2 of 4


1            request resulted from an unresolved question between the parties about the length of
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             the Court’s sentence.
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          2. That same evening, October 1, 2019, the assigned court reporter sent an email to the
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             parties stating that the Court stated the following: “It’s the judgment and sentence of
5

6            the Court pursuant to the Sentencing Reform Act of 1984 that Edgar Jiminez (sic)

7            will be committed to the custody of the Bureau of Prisons for a term of 40 months.”
8
          3. Pursuant to Rule 35(a) of the Federal Rules of Criminal Procedure the parties request
9
             that the Court correct Mr. Jimenez’s sentence. Specifically, the parties request that
10
             the document entitled “Judgment in a Criminal Case” (ECF Entry 109, referred to
11

12           hereafter as the “Judgment and Commitment”), filed on September 25, 2019, shall be

13           replaced by an Amended Judgment and Commitment to reflect a sentence of 40-
14
             months. The parties further request that the second sentence for the Minutes of the
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             Sentencing Hearing held on September 19, 2019 (ECF Entry 108, referred to
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             hereafter as the “Minutes”), should be amended to state as follows: “Defendant
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18           sentenced on Count 7 of the Indictment to imprisonment of 40 months.” The parties

19           agree that all additional terms of sentencing and supervised release set forth in the
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             Minutes and the Judgment and Commitment are accurate.
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          4. This stipulation and request for correction of the sentence is made within 14 days of
22
             the sentencing as required under Federal Rule of Criminal Procedure 35(a).
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     ORDER CONTINUING STATUS
28   CONFERENCE
              Case 2:18-cr-00010-TLN Document 120 Filed 10/04/19 Page 3 of 4


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            Assistant U.S. Attorney Justin Lee has reviewed this stipulation and proposed order and
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     authorized Todd Leras via telephone call to sign it on his behalf.
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5
     DATED: October 2, 2019
6                                                         By      /s/ Todd D. Leras for
                                                                  JUSTIN LEE
7                                                                 Assistant United States Attorney
8
     DATED: October 2, 2019
9                                                         By      /s/ Todd D. Leras
                                                                  TODD D. LERAS
10                                                                Attorney for Defendant
                                                                  EDGAR JIMENEZ
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     ORDER CONTINUING STATUS
28   CONFERENCE
              Case 2:18-cr-00010-TLN Document 120 Filed 10/04/19 Page 4 of 4


1                                               ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
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     hereby ordered that the second sentence of the Minutes (ECF Entry 108) be amended as follows:
4
     “Defendant sentenced on Count 7 of the Indictment to imprisonment of 40 months.” It is further
5

6    ordered that an Amended Judgment and Commitment be filed to reflect a term of imprisonment

7    of 40 months.
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            IT IS SO ORDERED.
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     Dated: October 4, 2019
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13                                      Troy L. Nunley
                                        United States District Judge
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     ORDER CONTINUING STATUS
28   CONFERENCE
